                            UNITED STATES DISTRICT COURT
                                                                                   Motion GRANTED.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                                                   Hearing reset for
                                 NASHVILLE DIVISION
                                                                                   10/15/14 at 3:00
                                                                                   p.m.
UNITED STATES OF AMERICA                      )
                                              )       No. 3:07-00223
       v.                                     )       Judge Trauger
                                              )
REGGIE K. JACKSON                             )

                     MOTION TO CONTINUE REVOCATION HEARING

       Comes the defendant and hereby moves the Court to continue the revocation hearing

currently set for September 22, 2014.

        In support of this motion, defendant would state and show that Mr. Jackson’s case in the

Circuit Court in Wilson County is set for trial March 18 and 19, 2015, after Mr. Jackson refused

an offer of settlement on the case. Defendant has discussed the matter with Assistant United

States Attorney Brent Hannafan and U. S. Probation Officer Amanda Michele and the parties

have no objection to continuing the revocation hearing until after the state court trial date. Ms.

Michele is also out of town September 22 – 24th. In so requesting, the parties would point out to

the Court that the termination date of Mr. Jackson’s supervised release would normally be

November 24, 2014.

       Officer Michele reports that Mr. Jackson is otherwise in compliance with the conditions

of his supervised release.

                                             Respectfully submitted,

                                             s/ Sumter L. Camp
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                                             Attorney for Defendant
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